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                                UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OKLAHOMA

   PATRICK M. PARRICK,                               )
                                                     )
                  Plaintiff,                         )
   v.                                                )   Case No.: 12-cv-352-TCK-FHM
                                                     )
   PROGRESSIVE NORTHERN                              )
   INSURANCE CO.,                                    )
                                                     )
                  Defendant.                         )

                   JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

          The following parties to this lawsuit, Plaintiff, Patrick M. Parrick, and Defendant,

   Progressive Northern Insurance Company, pursuant to Fed. R. Civ. P. 41, stipulate this case should

   be dismissed with prejudice. All respective parties to bear their respective attorney fees and costs.

          Dated this 29th day of November 2012.



   s/ Mike Jones                                         s/ Brad L. Roberson
   (Signed by Filing Attorney with                       Brad L. Roberson, OBA No. 18819
   Permission of Attorney)                               PIGNATO, COOPER, KOLKER & ROBERSON, P.C.
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